
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-05-324-CV



JAMES M. HANNERS	APPELLANT



V.



PAUL JEFFREY BROWN	APPELLEE



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FROM THE 231
ST
 DISTRICT 
COURT OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant’s “Motion For Voluntary Dismissal Of Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant, for which let execution issue.

PER CURIAM

PANEL D: DAUPHINOT, HOLMAN, and GARDNER, JJ.



DELIVERED: March 2, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




